                          Case 1:18-cv-00950-PTG-JFA Document 612-1 Filed 11/29/19 Page 1 of 20 PageID# 25526
                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
    1                                                                           List of Sound Recordings in Sony v. Cox
    2                                                                           List of Musical Compositions in Sony v. Cox
    3         RIAA_00000003                    RIAA_00000016                    Master Agreement between DtecNet Inc. and Recording Industry Association of America Inc.
    4         RIAA_00000017                    RIAA_00000029                    SOW RIAA Commercial ISP Program
    5         RIAA_00000030                    RIAA_00000044                    Statement of Work ("SOW")
    6         RIAA_00000045                    RIAA_00000058                    Statement of Work ("SOW")
    7         RIAA_00000059                    RIAA_00000059                    Email from abuse@cox.net to antipiracy2@riaa.com, Re: Copyright Infringement - Notice ID # 22274164126

      8       RIAA_00050955                    RIAA_00050955                    Email from abuse@cox.net to antipiracy2@riaa.com, Re: Copyright Infringement - Notice ID # 22283720487

      9       COX_SONY_00006776                COX_SONY00007833                 Ticket # 23936937
     10       COX_BMG00103791                  COX_BMG00103796                  Ticket # 24063247
     11       Plaintiffs_00286431              Plaintiffs_00286431              AM Data Columns_Network Hashes_SHA1
     12                                                                         Summary of RIAA Notices to Cox
     13       Plaintiffs_00286430              Plaintiffs_00286430              RIAA notices sent to Cox 2012 - 2015.txt
     14       Plaintiffs_00286280              Plaintiffs_00286280              RIAA notices sent to Cox 2012 - 2015.xlsx
     15       Plaintiffs_00286280              Plaintiffs_00286280              Excerpt of Plaintiffs_00286280 (Plaintiffs' Deposition Ex. 154)
     16       Plaintiffs_00286432              Plaintiffs_00286432              SHA1_Binary Files From Drive
     17       Plaintiffs_00008698              Plaintiffs_00286173              Compilation of notices sent from antipiracy2@riaa.com to abuse@cox.net
     18       COX_SONY_00009022                COX_SONY_00500472                Compilation of notices sent from antipiracy2@riaa.com to abuse@cox.net
     19       COX_SONY_00515539                COX_SONY_00515539                Ticket Data
     20                                                                         Action and Action_Content_Form fields from COX_SONY_00515539 (Plaintiffs' Deposition Ex. 204)
     21       COX_SONY_00515539                COX_SONY_00515539                Excerpt of COX_SONY_00515539 (Plaintiffs' Deposition Ex. 203)
     22       COX_SONY_00515539                COX_SONY_00515539                Excerpt of COX_SONY_00515539 for ICOMS_ID = 580702666207 (Plaintiffs' Deposition Ex. 208)
     23       COX_SONY_00515540                COX_SONY_00518952                RIAA_subjects_to_accounts
     24       COX_SONY_00515540                COX_SONY_00515540                Excerpt of COX_SONY_00515540 (Plaintiffs' Deposition Ex. 212)
     25       COX_SONY_00515540                COX_SONY_00515540                Excerpt of COX_SONY_00515540 (Plaintiffs' Deposition Ex. 216)
     26       COX_SONY_00974239                COX_SONY_00974239                Actions History Supplemental Tkts without ICOMS ID Copyother
     27       COX_SONY_00974239                COX_SONY_00974239                Excerpt of COX_SONY_00974239 (Plaintiffs' Deposition Ex. 215)
     28       COX_SONY_00974239                COX_SONY_00974239                Excerpt of COX_SONY_00974239, icoms_id = 541069349405
     29       COX_SONY_00974239                COX_SONY_00974239                Excerpt of COX_SONY_00974239, icoms_id = 436510478406
     30       COX_SONY_00974239                COX_SONY_00974239                Excerpt of COX_SONY_00974239, icoms_id = 132019062501
     31       COX_SONY_00974240                COX_SONY_00974240                Excerpt of COX_SONY_00974240 (Plaintiffs' Deposition Ex. 214)
     32       COX_SONY_00527815                COX_SONY_00935146                Compilation of forwarded notices from abuse@cox.net to Cox subscribers
     33       MM000306                         MM000306                         MarkMonitor Evidence Packages



Sony Music Entertainment, et al., v. Cox Communications, Inc., et al. , Case No. 1:18-cv-00950-LO-JFA                                                                                    1
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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
    34   BMG Trial, PX 2538                                                     Rightscorp Notice Data
    35                                                                          Excerpt of PX-2538 from BMG Rights Management (US) LLC et al. v. Cox Enterprises, Inc. et al., No. 1:14-
                                                                                cv-01611 (E.D. Va.) IP = 98.176.207.69 EmailidDate = 12/28/13 - 1/20/14 (Plaintiffs' Deposition Ex. 223)


     36                                                                         Excerpt of PX-2538 from BMG Rights Management (US) LLC et al. v. Cox Enterprises, Inc. et al., No. 1:14-
                                                                                cv-01611 (E.D. Va.) IP = 72.201.210.66 EmailidDate = 12/28/13 - 1/20/14 (Plaintiffs' Deposition Ex. 225)


     37                                                                         Excerpt of PX-2538 from BMG Rights Management (US) LLC et al. v. Cox Enterprises, Inc. et al., No. 1:14-
                                                                                cv-01611 (E.D. Va.) IP = 72.206.99.193 EmailidDate = 12/28/13 - 1/20/14 (Plaintiffs' Deposition Ex. 227)


     38                                                                         Intentionally Omitted
     39                                                                         Hard drive with copies of files distributed by Cox's users (as produced on Feb. 26, 2019)
     40       Plaintiffs_00286433              Plaintiffs_00286433              Exhibit B to Complaint (Musical Compositions)
     41       Plaintiffs_00286434              Plaintiffs_00286434              Exhibit A to Complaint (Sound Recordings)
     42       Plaintiffs_00286435              Plaintiffs_00286435              The Cars - Drive
     43       Plaintiffs_00286436              Plaintiffs_00286436              Bruno Mars - Locked Out of Heaven
     44       Plaintiffs_00286437              Plaintiffs_00286437              Prince - Little Red Corvette
     45       Plaintiffs_00286438              Plaintiffs_00286438              Zac Brown Band - Sweet Annie
     46       Plaintiffs_00286439              Plaintiffs_00286439              Matchbox Twenty - 3 AM
     47       Plaintiffs_00286440              Plaintiffs_00286440              Van Halen - Panama
     48       Plaintiffs_00286441              Plaintiffs_00286441              Rob Thomas - Lonely No More
     49       Plaintiffs_00286442              Plaintiffs_00286442              INXS - Need You Tonight
     50       Plaintiffs_00286443              Plaintiffs_00286443              Cobra Starship - Good Girls Go Bad
     51       Plaintiffs_00286444              Plaintiffs_00286444              Trey Sonz - 2 Reasons
     52       Plaintiffs_00286445              Plaintiffs_00286445              Gnarls Barkley - Crazy
     53       Plaintiffs_00286446              Plaintiffs_00286446              Linkin' Park - One Step Closer
     54       Plaintiffs_00286447              Plaintiffs_00286447              Wiz Khalifa - Work Hard, Play Hard
     55       Plaintiffs_00286448              Plaintiffs_00286448              Kid Rock - All Summer Long
     56       Plaintiffs_00286449              Plaintiffs_00286449              Green Day - American Idiot
     57       Plaintiffs_00286450              Plaintiffs_00286450              Faith Hill - Breathe
     58       Plaintiffs_00286451              Plaintiffs_00286451              Fun - Some Nights
     59       Plaintiffs_00286452              Plaintiffs_00286452              Hootie & The Blowfish - Hold My Hand
     60       Plaintiffs_00286453              Plaintiffs_00286453              Flo Rida - Wild Ones
     61       Plaintiffs_00286454              Plaintiffs_00286454              Blake Shelton - Mine Would Be You
     62       Plaintiffs_00286455              Plaintiffs_00286455              Red Hot Chili Peppers - Californication



Sony Music Entertainment, et al., v. Cox Communications, Inc., et al. , Case No. 1:18-cv-00950-LO-JFA                                                                                      2
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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
    63        Plaintiffs_00286456              Plaintiffs_00286456              Led Zeppelin - Kashmir
    64        Plaintiffs_00286457              Plaintiffs_00286457              Brandy - Have You Ever
    65        Plaintiffs_00286458              Plaintiffs_00286458              Third Eye Blind - Semi-Charmed Life
    66        Plaintiffs_00286459              Plaintiffs_00286459              The Cure - Boys Don't Cry
    67        Plaintiffs_00286460              Plaintiffs_00286460              Randy Travis - Forever and Ever, Amen
    68        Plaintiffs_00286461              Plaintiffs_00286461              Jason Mraz - I'm Yours
    69        Plaintiffs_00286462              Plaintiffs_00286462              Grouplove - Tongue Tied
    70        Plaintiffs_00286463              Plaintiffs_00286463              Nickelback - If Today Was Your Last Day
    71        Plaintiffs_00286493              Plaintiffs_00286493              Taylor Swift - Red
    72        Plaintiffs_00286494              Plaintiffs_00286494              Rihanna - Pon De Replay
    73        Plaintiffs_00286495              Plaintiffs_00286495              Timbaland - The Way I Are
    74        Plaintiffs_00286496              Plaintiffs_00286496              Lady Antebellum - Just A Kiss
    75        Plaintiffs_00286497              Plaintiffs_00286497              Gotye - Somebody That I Used to Know
    76        Plaintiffs_00286498              Plaintiffs_00286498              Eminem - I'm Not Afraid
    77        Plaintiffs_00286499              Plaintiffs_00286499              Blue October - Into the Ocean
    78        Plaintiffs_00286500              Plaintiffs_00286500              Imagine Dragons - It's Time
    79        Plaintiffs_00286501              Plaintiffs_00286501              Far East Movement - Like a G6
    80        Plaintiffs_00286502              Plaintiffs_00286502              Capital Cities - Safe and Sound
    81        Plaintiffs_00286503              Plaintiffs_00286503              Imagine Dragons - Radioactive
    82        Plaintiffs_00286504              Plaintiffs_00286504              Frank Ocean - Thinking About You
    83        Plaintiffs_00286505              Plaintiffs_00286505              Rihanna - Where Have You Been
    84        Plaintiffs_00286506              Plaintiffs_00286506              Tears For Fears - Everybody Wants to Rule The World
    85        Plaintiffs_00286507              Plaintiffs_00286507              Rascal Flatts - Come Wake Me Up
    86        Plaintiffs_00286508              Plaintiffs_00286508              Lana Del Rey - Summertime Sadness
    87        Plaintiffs_00286509              Plaintiffs_00286509              Luke Bryan - Crash My Party
    88        Plaintiffs_00286510              Plaintiffs_00286510              Lorde - Royals
    89        Plaintiffs_00286511              Plaintiffs_00286511              50 Cent - Build You Up
    90        Plaintiffs_00286512              Plaintiffs_00286512              Nirvana - Smells Like Teen Spirit
    91        Plaintiffs_00286513              Plaintiffs_00286513              Maroon 5 - Payphone
    92        Plaintiffs_00286514              Plaintiffs_00286514              Taylor Swift - The Story of Us
    93        Plaintiffs_00286515              Plaintiffs_00286515              The Rolling Stones - Start Me Up
    94        Plaintiffs_00286516              Plaintiffs_00286516              Eric Clapton - I Shot the Sheriff
    95        Plaintiffs_00286517              Plaintiffs_00286517              UB40 - Red Red Wine
    96        Plaintiffs_00286518              Plaintiffs_00286518              Aerosmith - Love in an Elevator
    97        Plaintiffs_00286519              Plaintiffs_00286519              Bob Marley & The Wailers - No Woman, No Cry



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
    98        Plaintiffs_00286520              Plaintiffs_00286520              Eminem - Lose Yourself
    99        Plaintiffs_00286521              Plaintiffs_00286521              Heart - Alone
   100        Plaintiffs_00286522              Plaintiffs_00286522              Amy Winehouse - Back to Black
   101        Plaintiffs_00286523              Plaintiffs_00286523              Kanye West - All of the Lights
   102        Plaintiffs_00286524              Plaintiffs_00286524              Gwen Stefani - Hollaback Girl
   103        Plaintiffs_00286526              Plaintiffs_00286526              Katy Perry - Firework
   104        Plaintiffs_00288989              Plaintiffs_00288989              Lady Gaga - Born This Way
   105        Plaintiffs_00288990              Plaintiffs_00288990              Gwen Stefani - Hollaback Girl
   106        Plaintiffs_00288854              Plaintiffs_00288854              John Mayer - Your Body is a Wonderland
   107        Plaintiffs_00288855              Plaintiffs_00288855              Britney Spears - I'm a Slave 4 U
   108        Plaintiffs_00288856              Plaintiffs_00288856              Miley Cyrus - We Can't Stop
   109        Plaintiffs_00288857              Plaintiffs_00288857              P!nk - Get the Party Started
   110        Plaintiffs_00288858              Plaintiffs_00288858              Shakira - Waka Waka (This Time for Africa)
   111        Plaintiffs_00288859              Plaintiffs_00288859              Adele - Rolling in the Deep
   112        Plaintiffs_00288860              Plaintiffs_00288860              Miranda Lambert - Gunpowder & Lead
   113        Plaintiffs_00288861              Plaintiffs_00288861              Dave Matthews Band - Ants Marching
   114        Plaintiffs_00288862              Plaintiffs_00288862              Adele - Turning Tables
   115        Plaintiffs_00288863              Plaintiffs_00288863              Avril Lavigne - Complicated
   116        Plaintiffs_00288864              Plaintiffs_00288864              Kings of Leon - Be Somebody
   117        Plaintiffs_00288865              Plaintiffs_00288865              Brooks & Dunn - Boot Scootin' Boogie
   118        Plaintiffs_00288866              Plaintiffs_00288866              Kelly Clarkson - Stronger
   119        Plaintiffs_00288867              Plaintiffs_00288867              Boston - Higher Power
   120        Plaintiffs_00288868              Plaintiffs_00288868              Carrie Underwood - Blown Away
   121        Plaintiffs_00288869              Plaintiffs_00288869              John Legend - All of Me
   122        Plaintiffs_00288870              Plaintiffs_00288870              Santana - Smooth
   123        Plaintiffs_00288871              Plaintiffs_00288871              Eddie Money - Stop Steppin' On My Heart
   124        Plaintiffs_00288872              Plaintiffs_00288872              One Direction - What Makes You Beautiful
   125        Plaintiffs_00288873              Plaintiffs_00288873              J. Cole - Crooked Smile
   126        Plaintiffs_00288874              Plaintiffs_00288874              Alicia Keys - Empire State of Mind (Part II) Broken Down
   127        Plaintiffs_00288875              Plaintiffs_00288875              Beyonce - Run the World (Girls)
   128        Plaintiffs_00288876              Plaintiffs_00288876              Journey - Don't Stop Believin'
   129        Plaintiffs_00288877              Plaintiffs_00288877              Justin Timberlake - SexyBack
   130        Plaintiffs_00288878              Plaintiffs_00288878              Pitbull - Global Warming
   131        Plaintiffs_00288879              Plaintiffs_00288879              Electric Light Orchestra - Mr. Blue Sky
   132        Plaintiffs_00288880              Plaintiffs_00288880              Foster The People - Don't Stop



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
   133        Plaintiffs_00288881              Plaintiffs_00288881              Karmin - Acapella
   134        Plaintiffs_00288882              Plaintiffs_00288882              Sara Bareilles - Brave
   135        Plaintiffs_00288883              Plaintiffs_00288883              Backstreet Boys - Quit Playing Games (With My Heart)
   136        Plaintiffs_00288884              Plaintiffs_00288884              Celine Dion - The Power of Love
   137        Plaintiffs_00288885              Plaintiffs_00288885              Train - Drive By
   138        Plaintiffs_00288886              Plaintiffs_00288886              Bruce Springsteen - Born in the U.S.A.
   139        Plaintiffs_00288887              Plaintiffs_00288887              Usher - Yeah!
   140        Plaintiffs_00288888              Plaintiffs_00288888              Adele - Someone Like You
   141        Plaintiffs_00288889              Plaintiffs_00288889              Marvin Gaye - Sexual Healing
   142        Plaintiffs_00288890              Plaintiffs_00288890              Miguel - Adorn
   143        Plaintiffs_00288891              Plaintiffs_00288891              Gloria Estefan - Coming Out of the Dark
   144        Plaintiffs_00288892              Plaintiffs_00288892              Billy Joel - Piano Man
   145        Plaintiffs_00288893              Plaintiffs_00288893              Brad Paisley - She's Everything
   146        Plaintiffs_00288894              Plaintiffs_00288894              John Denver - Thank God I'm a Country Boy
   147        Plaintiffs_00288895              Plaintiffs_00288895              Willie Nelson - City of New Orleans
   148        Plaintiffs_00288896              Plaintiffs_00288896              Fugees - Killing Me Softly with His Song
   149        Plaintiffs_00288897              Plaintiffs_00288897              The Clash - Train in Vain
   150        Plaintiffs_00288898              Plaintiffs_00288898              Sarah McLachlan - Adia
   151        Plaintiffs_00288899              Plaintiffs_00288899              Run DMC - Beats to the Rhyme
   152        Plaintiffs_00288900              Plaintiffs_00288900              Michael Jackson - Human Nature
   153        Plaintiffs_00288901              Plaintiffs_00288901              Luther Vandross - Never Too Much
   154        Plaintiffs_00288902              Plaintiffs_00288902              Journey - Don't Stop Believin'
   155        Plaintiffs_00288903              Plaintiffs_00288903              Foo Fighters - Everlong
   156        Plaintiffs_00288904              Plaintiffs_00288904              Bill Withers - Lean on Me
   157        Plaintiffs_00288905              Plaintiffs_00288905              Alan Jackson - Where Were You (When the World Stopped Turning)
   158        Plaintiffs_00288906              Plaintiffs_00288906              Whitney Houston - I Wanna Dance with Somebody (Who Loves Me)
   159        Plaintiffs_00288907              Plaintiffs_00288907              The Charlie Daniels Band - The Devil Went Down to Georgia
   160        Plaintiffs_00288908              Plaintiffs_00288908              Fugees - No Woman, No Cry
   161        Plaintiffs_00288991              Plaintiffs_00288991              John Williams - London Symphony Orchestra - Main Title (From Star Wars)
   162        Plaintiffs_00288994              Plaintiffs_00288994              Aerosmith - Walk This Way
   163        COX_SONY_00511541                COX_SONY_00511547                Cox Business Services Abuse Methods and Procedures
   164        COX_SONY_00005215                COX_SONY_00005277                Cox Communications Abuse Department CBS Ticket Handling Procedures
   165        COX_SONY_00508759                COX_SONY_00508843                Cox Communications Abuse Department Ticket Handling Procedures
   166        COX_SONY_00502357                COX_SONY_00502360                RDC Wiki - COWS
   167        COX_SONY_00508016                COX_SONY_00508102                Cox Communications Abuse Department Ticket Handling Procedures



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
   168        COX_SONY_00506742                COX_SONY_00506804                Cox Communications Abuse Department CBS Ticket Handling Procedures
   169        COX_SONY_00500496                COX_SONY_00500666                CATS Abuse Automation System Implementation Plan Version: 2.0
   170        COX_SONY_00003667                COX_SONY_00003670                Methods & Procedures for The Use of Preferred Email Address / POC for Abuse AUP Notifications
   171        COX_SONY_00524178                COX_SONY_00524181                Methods & Procedures for Utilization of the Abuse Walled Garden
   172        COX_SONY_00511816                COX_SONY_00511880                Email from A. Thompson to J. Zabek, RE: CB M&P (EDITED) with attachment
   173                                                                          Throughput (Gbps) vs. Time
   174        COX_SONY_00001313                COX_SONY_00001399                Cox Communications Abuse Department Ticket Handling Procedures
   175        COX_SONY_00004289                COX_SONY_00004308                Cox Communications Policies
   176        COX_SONY_00523529                COX_SONY_00523548                Cox Communications Policies
   177        COX_SONY_00523572                COX_SONY_00523580                Cox Business Policies
   178        COX_SONY_00524167                COX_SONY_00524175                Cox Business Acceptable Use Policy
   179        COX_SONY_00001240                COX_SONY_00001312                Cox Communications Customer Safety and Abuse Operations Residential Abuse Ticket Handling Procedures

    180       COX_SONY_00506342                COX_SONY_00506417                Cox Customer Safety Security and Abuse Operations Ticket Handling Procedures
    181       COX_SONY_00507777                COX_SONY_00507841                Cox Communications Customer Safety & Abuse Operations Cox Business Abuse Ticket Handling
                                                                                Procedures
    182       COX_SONY_00507043                COX_SONY_00507114                Cox Customer Safety and abuse Operations Cox Business Abuse Ticket Handling Procedures
    183       COX_SONY_00524898                COX_SONY_00524932                Cox Communications High Speed Internet Training Network Security Procedures Participant's Guide
    184       COX_SONY_00004345                COX_SONY_00004369                Cox Communications Policies
    185       COX_SONY_00005951                COX_SONY_00005952                ## DMCA complaintant "From:" addresses blocked in CATS
    186       COX_SONY_00501579                COX_SONY_00501580                ICOMS from CATS Wiki
    187       COX_SONY_00527301                COX_SONY_00527315                Cox Business Policies
    188       COX_SONY_00004370                COX_SONY_00004392                Cox Communications Policies
    189                                                                         Digital Millenium Copyright Act and Online Copyright Infringement
    190       COX_BMG00001513                  COX_BMG00001514                  How to assist Hotels, Offices, etc. with DMCA complaints - File sharing, Peer to Peer, P2P
    191       COX_BMG00003881                  COX_BMG00003889                  Cox Security Assurance & Intelligence Detection of Evil - Botnet Victim Notification Security Architecture
                                                                                Document
    192       COX_BMG00137921                  COX_BMG00137921                  Cox Customer Safety Account Reactivation
    193       COX_SONY_00001400                COX_SONY_00001403                Q&A for Cox DMCA Process
    194       COX_SONY_00001602                COX_SONY_00001604                Cox HSI Abuse / Security / Customer Safety Escalation Information for Tier 2
    195       COX_SONY_00003682                COX_SONY_00003682                DMCA rules for reporting to Cox
    196       COX_SONY_00004598                COX_SONY_00004599                Cox Excessive User Suspension Policy Statement
    197       COX_SONY_00005203                COX_SONY_00005209                State of Customer Safety 2011
    198       COX_SONY_00500475                COX_SONY_00500484                The Cox Abuse Tracking System (CATS)
    199       COX_SONY_00511788                COX_SONY_00511789                Customer Safety Wi-Fi Requirements



Sony Music Entertainment, et al., v. Cox Communications, Inc., et al. , Case No. 1:18-cv-00950-LO-JFA                                                                                        6
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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   200   COX_SONY_00520814                     COX_SONY_00520814                Soft Walled Garden Message
   201   COX_SONY_00523682                     COX_SONY_00523682                Cox Customer Safety / Abuse Operations Services Business/Technical Requirements for new and existing
                                                                                products
    202       COX_SONY_00523914                COX_SONY_00523923                Cox Customer Safety: Overview of the Cox.net Abuse Lifecycle
    203       COX_SONY_00525118                COX_SONY_00525146                CATS What is "Abuse?"
    204       COX_SONY_00973868                COX_SONY_00973881                Cox Customer Safety PowerPoint
    205       0265 SONY-COX                    0286 SONY-COX                    Procera PacketLogic Subscriber Manager (PSM)
    206       0001 SONY-COX                    0071 SONY-COX                    Product Supply Agreement between Procera Networks, Inc. and CoxCom, Inc.
    207       ERICSSON001023                   ERICSSON001052                   Cox Communications Broadband Demand Project Project Kick-off Meeting
    208       ERICSSON002359                   ERICSSON002364                   Internet service and traffic trends: Peer-to-peer file sharing
    209       COX_SONY_00002827                COX_SONY_00002838                Cox High Speed Internet Data Usage Assessment Mid-term Readout
    210       ERICSSON001552                   ERICSSON001569                   Cox High Speed Internet Broadband Usage Project Statement of Work
    211       ERICSSON000935                   ERICSSON000955                   Cox High Speed Internet Consumption Usage Project Project Kick-Off Meeting
    212       ERICSSON000991                   ERICSSON001010                   Cox High Speed Internet Data Usage Assessment Mid-term Readout
    213       ERICSSON000542                   ERICSSON000592                   Cox High Speed Internet Data Usage Assessment Appendix
    214       ERICSSON000825                   ERICSSON000851                   Cox High Speed Internet Data Usage Assessment Final Readout
    215       ERICSSON001783                   ERICSSON001783                   Broadband Consumption Analysis (Digital)
    216       ERICSSON001783                   ERICSSON001783                   Broadband Consumption Analysis (Printout)
    217       COX_SONY_00523005                COX_SONY_00523005                Calendar Invite, subject: Broadband Usage Final Presentation
    218       COX_SONY_00523006                COX_SONY_00523032                Cox High Speed Internet Data Usage Assessment Final Readout
    219       0333 SONY-COX                    0377 SONY-COX                    Procera Usage Based Billing and Platform Strategy Discussion
    220       0287 SONY-COX                    0316 SONY-COX                    Procera Cox Communications
    221       COX_SONY_00002340                COX_SONY_00002510                2012 Cox High-Speed Internet Service Residential Subscriber Tracking Survey Total Company Report
    222       COX_BMG00219338                  COX_BMG00219361                  Nielsen Attitude and Usage Tracking Primary Research Proposal
    223       COX_SONY_00002840                COX_SONY_00002917                Cox Consumption-Based Billing Study - Report of Findings
    224       0317 SONY-COX                    0326 SONY-COX                    Procera Cox Briefing
    225       0428 SONY-COX                    0508 SONY-COX                    Procera Product Briefing
    226       0519 SONY-COX                    0537 SONY-COX                    Response to Requirements
    227       COX_BMG00143399                  COX_BMG00143628                  Procera PacketLogic Product Guide Release 12.1
    228       COX_SONY_00002678                COX_SONY_00002729                Music Listening Habits of Current HSI Customers
    229                                                                         Letter motion from R. Cadenhead on behalf of Cox Communications, Inc. to Judge Willis B. Hunt, Jr. Re:
                                                                                Motown Record Company, L.P., et al., v. Does 1-252, No. 1:04-CV-0439
    230                                                                         Arista Records, Inc., et al. v. Does 1-100, 04-CV-2495, Non-Party Cox Communications Inc.'s Memorandum
                                                                                of Law In Support of Motion to Quash Non-Party Subpoena




Sony Music Entertainment, et al., v. Cox Communications, Inc., et al. , Case No. 1:18-cv-00950-LO-JFA                                                                                    7
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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   231   COX_SONY_00527429                     COX_SONY_00527441                Email from B. Beck to M. Carothers and CCI ATL - Data Ops - CATS, subject: CATS RIAA DMCA
                                                                                numbers, if you're curious…
    232       COX_SONY_00527450                COX_SONY_00527452                Email from B. Beck to M. Carothers, cc: R. Cadenhead and CCI ATL - Data Ops - CATS, RE: Cox
                                                                                Graduated Response Program
    233       COX_SONY_00527474                COX_SONY_00527475                Email from R. Cadenhead to B. Beck and M. Carothers, FW: Cox Graduated Response Program
    234       RIAA_00127817                    RIAA_00127818                    Email from V. Sheckler to D. Hughes, M. McDevitt, FW: Cox Graduated Response Program
    235       COX_SONY_00973787                COX_SONY_00973788                Email from C. Burns to J. Zabek RE: abuse suspensions
    236       COX_SONY_00005515                COX_SONY_00005515                Email from J. Zabek to CCI - Abuse Toc, cc: CCI - Abuse Corporate; CCI ATL - Data Ops - CATS, RE:
                                                                                Suspensions
    237       COX_SONY_00006759                COX_SONY_00006759                Email from A. Dameri to J. Zabek, RE: Suspensions
    238       COX_SONY_00519076                COX_SONY_00519081                Email from J. Zabek to B. Beck, cc: J. Sikes, CCI ATL - Data Ops - CATS, and CCI - Abuse Corporate, RE:
                                                                                DMCA numbers
    239       COX_BMG00179085                  COX_BMG00179085                  Email from J. Sikes to M. Carothers RE: DAB Abuse call for topics
    240       COX_SONY_00001408                COX_SONY_00001408                Email from M. Carothers to CCI - DAB-Abuse Team, subject: DAB Abuse call meeting minutes 1/12/10
    241       COX_SONY_00003679                COX_SONY_00003681                Email from J. Sikes to J. Sikes, J. Zabek, CCI - Abuse Toc, cc: CCI - Abuse Corporate, and CCI ATL - Data
                                                                                Ops - CATS, RE: Changes to abuse handling - CATS - Walled Garden
    242       COX_SONY_00005516                COX_SONY_00005516                Email from J. Zabek to CCI - Abuse Toc, cc: CCI - Abuse Corporate and CCI ATL - Data Ops - CATS, RE:
                                                                                Changes to abuse handling - CATS - Walled Garden
    243       COX_SONY_00001525                COX_SONY_00001530                Email from J. Sikes to B. Beck, cc: J. Zabek and CCI ATL - Data Ops - CATS, RE: Changes to abuse
                                                                                handling - CATS - Walled Garden __sidebar
    244       COX_SONY_00973784                COX_SONY_00973786                Email from J. Sikes to B. Beck, J. Zabek, cc: CCI ATL - Data Ops - CATS; CCI - Abuse Corporate RE:
                                                                                Abuse meeting yesterday: Residential
    245       COX_SONY_00005517                COX_SONY_00005519                Email from J. Zabek to A. Dameri and CCI - Abuse Corporate RE: Account [Redacted for Confidentiality]
    246       COX_SONY_00005525                COX_SONY_00005527                Email from C. Fraysier to J. Sikes, J. Zabek, G. Litwin, CB System Abuse Contact, and CCI - Abuse Toc, cc:
                                                                                CCI - Abuse Corporate and CCI ATL - Data Ops - CATS, RE: Verizon ends service of alleged illegal
                                                                                downloaders
    247       COX_SONY_00523049                COX_SONY_00523050                Email from R. Cadenhead to J. Zabek, FW: follow up, with attachment
    248       COX_SONY_00519050                COX_SONY_00519051                Email from R. Cadenhead to M. Carothers, B. Beck, and L. Trickey, FW: follow up
    249       COX_SONY_00974019                COX_SONY_00974019                Email from J. Zabek to C. Burns and B. Beck, RE: abuse tickets
    250       COX_SONY_00520059                COX_SONY_00520062                Email from J. Sikes to J. Zabek, RE: DMCA formatting issues - SonyPicturesEntertainment
                                                                                <SPECopyright@mc.mediasentry.com>
    251       COX_SONY_00520018                COX_SONY_00520019                Email from J. Sikes to B. Beck, cc: J. Zabek, RE: DMCA blast from Fox on Monday
    252       COX_SONY_00973959                COX_SONY_00973960                Email from B. Beck to J. Zabek, cc: CCI - Abuse Corporate and CCI ATL - Data Ops - CATS, RE: starz
                                                                                dmca complaint volume
    253       COX_SONY_00005514                COX_SONY_00005514                Email from R. Vredenburg to M. Moy, FW: DMCA Terminations



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   254   COX_SONY_00515383                     COX_SONY_00515383                Email from R. Vredenburg to M. Moy, FW: DMCA Terminations
   255   COX_SONY_00511198                     COX_SONY_00511201                Email from J. Sikes to A. Thompson, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse Corporate, cc:
                                                                                CCI - Abuse Toc, RE: CATS tickets
    256       COX_SONY_00519290                COX_SONY_00519300                Email from S. Marks to S. Marks, H. Symons, ke1671@att.com, T. Dailey, R. Cadenhead, R. Cotton,
                                                                                bb6781@att.com, bo4267@att.com, D. Knoll, D. Green, C. Sherman, D. Mandil, V. Sheckler, J. Brugger, V.
                                                                                McDevitt, and M. Grant, Subject: Economic Analysis Regarding Number of Notices with attachment
    257       COX_SONY_00519309                COX_SONY_00519318                Email from R. Cadenhead to K. Epstein, T. Dailey, R. Cadenhead, B. Olson, K. Duffy, and J. Cukier, FW:
                                                                                Cox data, with attachment(S)
    258       COX_SONY_00523061                COX_SONY_00523062                Email from C. Buechler to J. Zabek, cc: coreteam@pfsense.org, RE: PF Sense - help with DMCA violations??

    259       COX_SONY_00006035                COX_SONY_00006036                Email from J. Zabek to B. Beck, cc: CCI - Abuse Corporate and CCI ATL - Data Ops - CATS, Re: Zappa -
                                                                                Payartists - tomfun@charter.net
    260       COX_SONY_00005561                COX_SONY_00005561                Email from J. Zabek to P. Agcaoili, CCI - Security Architecture, S. Williams, L. Trickey, and R. Cadenhead,
                                                                                RE: US Copyright Group Slams Time Warner Cable
    261       COX_SONY_00006066                COX_SONY_00006075                Email from J. Zabek to B. Beck and J. Sikes, cc: CCI - Abuse Corporate, CCI ATL - Data Ops - CATS, and
                                                                                R. Cadenhead, RE: DMCA asking our customers to pay.
    262       COX_SONY_00005520                COX_SONY_00005520                Email from C. Fraysier to J. Sikes, HRD-TOC (CCI-Hampton Roads, J. Zabek, and CCI - Abuse Corporate,
                                                                                cc: CCI - Abuse Toc, RE: Termination clarification
    263       COX_BMG00006352                  COX_BMG00006352                  Conversation with cbsatljz on G Chaos L2 (aim)
    264       COX_SONY_00005212                COX_SONY_00005213                Email from T. Williams to J. Zabek, RE: Question for ya.
    265       COX_BMG00189484                  COX_BMG00189485                  Email from J. Zabek to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Customers
                                                                                Terminated for DMCA..
    266       COX_SONY_00005528                COX_SONY_00005529                Email from J. Zabek to A. Dameri and CCI - Abuse Corporate, cc. C. Burns, RE: Customers Terminated for
                                                                                DMCA..
    267       COX_SONY_00519440                COX_SONY_00519441                Email from V. Sheckler to H. Symons, ke1671@att.com, T. Dailey, R. Cadenhead, R. Cotton,
                                                                                bb6781@att.com, bo4267@att.com, D. Knoll, D. Green, C. Sherman, D. Mandil, S. Marks, J. Brugger, and
                                                                                M. Grant, cc: J. Cukier, C. Torres, Subject: graduated response call tomorrow, with attachment
    268       COX_SONY_00003854                COX_SONY_00003857                Email from R. Cadenhead to J. Sikes and J. Zabek, cc: CCI ATL - Data Ops - CATS and CCI - Abuse
                                                                                Corporate, Re: copyrightsettlements.com - volume increase
    269       RIAA_00127907                    RIAA_00127909                    Email from V. Sheckler to R. Cadenhead, cc: S. Marks and C. Sherman, FW: Cox Graduated Response
                                                                                Program, with attachment
    270       RIAA_00127910                    RIAA_00127912                    Email from V. Sheckler to R. Cadenhead, RE: FW: Cox Graduated Response Program
    271       COX_BMG00201183                  COX_BMG00201183                  Email from J. Zabek to A. Thompson, Subject: CB M&P
    272       COX_SONY_00000583                COX_SONY_00000585                Email from J. Sikes to J. Sikes and infringements@warnerbros.com, cc: J. Zabek, B. Beck, and R. Cadenhead,
                                                                                RE: Problem with Dig Sig for MediaSentry-SpecCopyright2 Notices Sent To Abuse@Cox.net




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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   273   COX_SONY_00973782                     COX_SONY_00973783                Email from T. Campbell to M. Anjakos and B. Suasa, cc: D. Powell, RE: SD ticket count and info for your
                                                                                meeting
    274       COX_SONY_00510853                COX_SONY_00510860                Email from J. Sikes to J. Sikes and D. Thompson, cc: J. Rooney, A. Vinokourov, B. Beck, J. Zabek, and R.
                                                                                Cadenhead, RE: Notice ID: 8757067: Unauthorized activities relating to copyrighted computer program(s) on
                                                                                P2P Network
    275       COX_BMG00212816                  COX_BMG00212818                  Email from M. Carothers to L. Trickey, RE: The changing nature of piracy
    276       COX_BMG00212686                  COX_BMG00212688                  Email from J. Zabek to J. Sikes and B. Beck, cc: CCI - Abuse Corporate, RE: The TOC is going away
    277       COX_SONY_00511210                COX_SONY_00511210                Email from J. Zabek to HRD-TOC (CCI Hampton Roads) and CCI - Abuse Corporate, cc: CCI - TOC RE:
                                                                                CATS 7442149
    278       COX_SONY_00005540                COX_SONY_00005541                Email from J. Zabek to J. Barnhardt, cc: CCI - Abuse Corporate, RE: CATS ticket info on cust acct
    279       COX_BMG00199746                  COX_BMG00199748                  Email from J. Zabek to ipe@policycircle.com, subject: [ipe] digitalrightscorp.com
    280       COX_SONY_00520135                COX_SONY_00520135                Email from J. Zabek to J. Sikes, B. Beck, and CCI - Abuse Corporate, cc: CCI ATL - Data Ops - CATS, RE:
                                                                                IP-Echelon DMCA Volume
    281       COX_BMG00164039                  COX_BMG00164042                  Email from R. Massenburg to J. Zabek, cc: R. Porter, T. Wathen, CCI CVA - HRD HSI Tier 2 Leads, and
                                                                                CCI - Abuse Corporate, RE: Bulk Account Suspensions/Reactivations
    282       COX_SONY_00520152                COX_SONY_00520155                Email from R. Massenburg to J. Zabek, cc: R. Porter, T. Wathen, CCI CVA - HRD HSI Tier 2 Leads, and
                                                                                CCI - Abuse Corporate, RE: Bulk Account Suspensions/Reactivations
    283       COX_BMG00133585                  COX_BMG00133586                  Emaiil from R. Vredenburg to J. Zabek, J. Sikes, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse
                                                                                Corporate, cc: CCI - Abuse Toc, RE: 7803013
    284       COX_BMG00200935                  COX_BMG00200935                  Email from J. Sikes to HRD-TOC (CCI-Hampton Roads); CCI - Abuse Corporate, cc: CCI - Abuse Toc, Re:
                                                                                7803013
    285       COX_BMG00207705                  COX_BMG00207706                  J. Zabek to R. Cadenhead, L. Trickey, and L. P'Simer, cc: CCI - Abuse Corporate, RE: Copyright enforcement
                                                                                group / Digital Rights Corp
    286       COX_BMG00222667                  COX_BMG00222670                  Email from R. Cadenhead to J. Zabek, L. Trikey, and D. Deliman, cc: M. Carothers, A. Thompson, and J.
                                                                                Sikes, RE: Lawsuit threatened over allegations of illegal downloads
    287       COX_SONY_00005532                COX_SONY_00005533                Email from J. Zabek to J. Sikes, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse Corporate, cc: CCI -
                                                                                Abuse Toc, RE: 7803013
    288       COX_SONY_00510844                COX_SONY_00510846                Email from D. Deliman to L. Trickey, J. Zabek, R. Cadenhead, cc: M. Carothers, A. Thompson, J. Sikes RE:
                                                                                [Redacted for Privilege]
    289       COX_SONY_00511389                COX_SONY_00511394                Email from M. Carothers to B. Beck, cc: D. Luetkemeyer, J. Zabek, A. Hamilton, CCI ATL - Data Ops -
                                                                                CATS; A. Hodgen, RE: Discuss Abuse Scenarios for PerfTech In-Browser Notification Trial
    290       COX_SONY_00510753                COX_SONY_00510755                Email from M. Carothers to B. Beck and J. Zabek, cc: M. Mitchell and CCI ATL - Data Ops - CATS, RE:
                                                                                IBN use cases
    291       COX_SONY_00511395                COX_SONY_00511396                Email from J. Zabek to B. Beck, M. Carothers, M. Mitchell, cc: CCI ATL - Data Ops - CATS, RE: IBN use
                                                                                cases



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   292   COX_BMG00006484                       COX_BMG00006484                  Conversation with sip:harry.spriggs@cox.com on brent.beck@cox.com,CORP\bbeck (sipe)
   293   COX_BMG00180262                       COX_BMG00180263                  Email from J. Sikes to J. Zabek, B. Beck, and CCI - Abuse Corporate, cc: CCI ATL - Data Ops - CATS, RE:
                                                                                CATS Suspend vs Terminate
    294       COX_BMG00175286                  COX_BMG00175287                  Email from J. Sikes to B. Beck, cc: J. Zabek, CCI - Abuse Corporate, and CCI - ATL - Data Ops - CATS,
                                                                                RE: CATS Suspend vs Terminate
    295       COX_SONY_00973780                COX_SONY_00973781                Email from B. Beck to J. Zabek, RE: CATS auto quarantine
    296       COX_SONY_00974255                COX_SONY_00974257                Email from B. Beck to J. Zabek, RE: CATS auto quarantine
    297       COX_BMG00213513                  COX_BMG00213515                  Email from C. Carlson to J. Zabek, cc: CCI - Abuse Corporate, RE: [Redacted for Confidentiality]
    298       COX_SONY_00005566                COX_SONY_00005568                Email from S. Linday to J. Zabek, R. Chandler, and D. Robinson, cc: T. Campbell, RE: Abuse Issue
    299       COX_BMG00207428                  COX_BMG00207432                  Email from J. Zabek to L. Edwards, K. Serikstad, CCI ATL - Data Ops - Email, cc: R. Cadenhead, A.
                                                                                Marinkovic, CCI ATL - Data Ops - CATS; CCI - Abuse Corporate, RE: Advice needed -- FW:
                                                                                DMCA@DigitalRightsCorp.com settlement offers
    300       COX_SONY_00006020                COX_SONY_00006024                Email from J. Zabek to L. Edwards, K. Serikstad, CCI ATL - Data Ops - Email, cc: R. Cadenhead, A.
                                                                                Marinkovic, CCI ATL - Data Ops - CATS; CCI - Abuse Corporate, RE: Advice needed -- FW:
                                                                                DMCA@DigitalRightsCorp.com settlement offers
    301       COX_SONY_00520331                COX_SONY_00520332                Reminder - Jason's email & Cancel
    302       COX_BMG00197223                  COX_BMG00197223                  Email from M. McAlister to J. Zabek, cc: abuse@cox.net, subject: Repeat infringer tracking
    303       COX_SONY_00003736                COX_SONY_00003738                Conversation with joesikesatl on G Chaos L2 (aim)
    304       COX_SONY_00003743                COX_SONY_00003744                Coversation with joesikesatl on G Chaos L2 (aim)
    305       COX_SONY_00512421                COX_SONY_00512422                Conversation with joesikesatl on G Chaos L2 (aim)
    306       COX_BMG00149800                  COX_BMG00149801                  Email from D. Simmons to J. Sikes, A. Dameri, and CCI - Abuse Corporate, RE: DMCA Clarification
    307       COX_BMG00187228                  COX_BMG00187228                  Email from A. Dameri to CCI - Abuse Corporate, cc: D. Simmons, Subject: DMCA Clarification
    308       COX_SONY_00512197                COX_SONY_00512197                Email from J. Sikes to A. Dameri and CCI - Abuse Corporate, cc: D. Simmons, RE: DMCA Clarification
    309       COX_SONY_00522942                COX_SONY_00522942                Email from N. Dinion to L. P'Simer, E. Bordner, C. Summers, L. Trickey, K. Davis, and R. Schuler, RE:
                                                                                Broadband Consumption Project Mid-Term Readout
    310       COX_SONY_00000581                COX_SONY_00000582                Email from J. Sikes to R. Cadenhead, B. Beck, CCI - Abuse Corporate and L. Trickey, cc: CCI ATL - Data
                                                                                Ops - CATS, RE: High complaint volume from Universal Studios
    311       COX_SONY_00510747                COX_SONY_00510751                Email from P. Agcaoili to J. Zabek, cc: A. Sautter, B. Beck, M. Carothers, Re: Regarding San Diego
                                                                                Customer [redacted for confidentiality] - Account number [redacted for confidentiality]
    312       COX_SONY_00511919                COX_SONY_00511921                Email from J. Zabek to J. Sikes and HRD-TOC (CCI - Hampton Roads), cc: CCI - Abuse Corporate, RE:
                                                                                DMCA double term call back.
    313       COX_SONY_00523857                COX_SONY_00523858                Email from J. Sikes to B. Beck, cc: CCI ATL - Data Ops - CATS and CCI - Abuse Corporate, RE: Monday's
                                                                                spike in ticket volume
    314       COX_SONY_00513415                COX_SONY_00513416                Email from J. Sikes to K. Patterson, cc: CCI - Abuse Corporate, subject: Excessive Users vs BAU




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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   315   COX_SONY_00008294                     COX_SONY_00008295                Email from J. Sikes to J. Sikes and R. Vredenburg, Subject: Conversation with Sikes, Joseph (CCI-Atlanta)

    316       COX_SONY_00008857                COX_SONY_00008858                Email from R. Vredenburg to J. Sikes, A. Dameri, R. Schubert, and M. Moy, cc: CCI-Abuse Corporate, C.
                                                                                Burns, HRD-TOC (CCI-Hampton Roads), RE: Resi Abuse M&P Format & Improvements
    317       COX_BMG00164067                  COX_BMG00164068                  Email from R. Vredenburg to J. Sikes, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse Corporate, RE:
                                                                                CATS 11516325
    318       COX_BMG00188943                  COX_BMG00188944                  Email from J. Zabek to S. Wilmmer, RE: Archer Incident IR-155: Possible BitTorrent Use on Internal
                                                                                Network - Closed
    319       COX_SONY_00520075                COX_SONY_00520079                Email from J. Sikes to B. Beck, cc: CCI - Abuse Corporate and CCI ATL - Data Ops - CATS, RE: DtecNet
                                                                                Software triples volume for Mondays
    320       COX_SONY_00511790                COX_SONY_00511791                Email from S. Williams to CCI ATL - ETO Managers, cc: CCI ATL - Security and Abuse Operations and
                                                                                CCI - Security Program Office Core, Subject: WSR - 12/5/2012 - Security & Abuse Operations
    321       COX_SONY_00005534                COX_SONY_00005535                Email from J. Sikes to A. Dameri, RE: Termination review CATS ticket 12056367
    322       COX_SONY_00513220                COX_SONY_00513221                Email from J. Sikes to A. Dameri, RE: Termination review CATS ticket 12056367
    323       COX_SONY_00519023                COX_SONY_00519023                Email from J. Sikes to B. Beck, cc: CCI ATL - Data Ops - CATS and CCI - Abuse Corporate, RE: Dtech Net -
                                                                                Fox DMCA Complaints
    324       COX_SONY_00003761                COX_SONY_00003762                Email from J. Sikes to K. Biscocho, J. Santos, and CCI - Abuse Corporate, cc: T. Lubluban, C. Fraas, and D.
                                                                                Guernier, RE: DMCA Violation
    325       COX_SONY_00512332                COX_SONY_00512335                Email from J. Zabek to J. Civiletto, RE: This Is What the Copyright Alert System Looks Like in Action
    326       COX_SONY_00522937                COX_SONY_00522939                Email from J. Zabek to B. Beck and R. Cadenhead, cc: L. Trickey, RE: FW: notice limit (RIAA)
    327       COX_SONY_00519017                COX_SONY_00519018                Email from V. Sheckler to R. Cadenhead, cc: B. Beck, RE: notice limit
    328       COX_SONY_00519017                COX_SONY_00519018                Email from V. Sheckler to R. Cadenhead, cc: B. Beck, RE: notice limit
    329       COX_SONY_00513260                COX_SONY_00513261                Email from J. Sikes to A. Dameri, RE: regarding employee dmca tickets
    330       COX_SONY_00515260                COX_SONY_00515260                Email from J. Sikes to J. Sikes and M. Mathews, subject: Conversation with Sikes, Joseph (CCI - Atlanta)
    331       COX_SONY_00005569                COX_SONY_0000570                 Email from J. Zabek to J. Snyder, cc: B. Beck, J. Sikes, A. Thompson, R. Cadenhead, L. Trickey, and A.
                                                                                Leatherland, RE: HBO DMCA complaints
    332       COX_SONY_00006148                COX_SONY_00006158                Email from A. Leatherland to J. Zabek, cc: J. Snyder, J. Sikes, A. Thompson, R. Cadenhead, L. Trickey, and
                                                                                B. Beck, Re: HBO DMCA complaints
    333       COX_SONY_00000464                COX_SONY_00000466                Email from R. Cadenhead to J. Sikes, cc L. Trickey, CCI ATL - Data Ops - CATS, and CCI - Abuse
                                                                                Corporate, Re: visualware.com complaints still blacklisted
    334       COX_SONY_00520833                COX_SONY_00520834                Email from J. Sikes to HRD-TOC (CCI-Hampton Roads); CCI - Abuse Corporate RE: Information
    335       COX_SONY_00000586                COX_SONY_00000589                Email from B. Beck to J. Sikes, cc: M. Carothers, J. Zabek, S. Roper, and D. Dee, RE: DMCA complaint
                                                                                spike?
    336       COX_SONY_00001605                COX_SONY_00001607                Email from M. Carothers to J. Zabek and J. Sikes, RE: DMCA complaint spike?




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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   337   COX_SONY_00005545                     COX_SONY_00005548                Email from B. Beck to J. Sikes, cc: M. Carothers, J. Zabek, S. Roper, and D. Dee, RE: DMCA complaint
                                                                                spike?
    338       COX_SONY_00511299                COX_SONY_00511299                Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Termination
                                                                                Review - 18219619
    339       COX_BMG00181437                  COX_BMG00181437                  Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: CATS Ticket
                                                                                18440699 - Termination Review
    340       COX_SONY_00003733                COX_SONY_005003735               Email from R. Vredenburg to J. Sikes, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse Corporate, RE:
                                                                                Request for Termination - CATS Ticket 18640545
    341       COX_SONY_00008296                COX_SONY_00008297                Email from J. Sikes to HRD-TOC (CCI-Hampton Roads); CCI - Abuse Corporate RE: Request for
                                                                                Termination - CATS Ticket 18640545
    342       COX_SONY_00512138                COX_SONY_00512141                Email from M. Mathews to J. Sikes, HRD-TOC (CCI-Hampton Roads), and CCI - Abuse Corporate, RE:
                                                                                Request for Termination - CATS Ticket 18640545
    343       COX_SONY_00525111                COX_SONY_000525113               Email from M. Shew to S. Sudbeck, cc: M. Acker-Blardo, FW: Tier II Triaining 3 of 4
    344       COX_BMG00199838                  COX_BMG00199838                  Email from A. Thompson to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Termination
                                                                                review REF#19842777
    345       COX_BMG00181434                  COX_BMG00181434                  Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Termination
                                                                                Review - 19991279
    346       COX_SONY_00511291                COX_SONY_00511291                Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Termination
                                                                                Review - 19751123
    347       COX_SONY_00008318                COX_SONY_00008319                Email from A. Thompson to HRD-TOC (CCI-Hampton Roads) and CCI - Abuse Corporate, RE: Termination
                                                                                Review - 19029047
    348       COX_SONY_00512114                COX_SONY_00512122                Email from A. Thompson to J. Pedalino, J. Sikes, B. Beck, cc: CCI - Abuse Corporate, J. Glennice; L. Gore,
                                                                                G. Thorogood, RE: Customer impact - Abuse - 30100
    349       COX_SONY_00501616                COX_SONY_00501618                Issues with specific complainants from CATS Wiki
    350       COX_SONY_00512450                COX_SONY_00512461                Email from Cox Customer Safety to [Redacted for Confidentiality]
    351       BMG Trial, PX 1610                                                BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Defendant Cox Communications, Inc.'s
                                                                                First Supplemental Responses to Plaintiffs' First Set of Interrogatories, with May 29, 2015 Verification

    352       BMG Trial, PX 1620                                                BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Defendant Cox Communications, Inc.'s
                                                                                Objections and Responses to Plaintiffs' Sixth Set of Interrogatories, with August 27, 2015 Verification


    353       BMG Trial, PX 1622                                                BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Defendant Cox Communications, Inc.'s
                                                                                Third Supplemental Responses to Plaintiffs' First Set of Interrogatories, with August 27, 2015 Verification




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  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   354   BMG Trial, PX 1614                                                     BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Defendant Cox Communications, Inc.'s
                                                                                Second Supplemental Responses to Plaintiffs' First Set of Interrogatories, with August 27, 2015 Verification

    355                                                                         BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Declaration of Randall J. Cadenhead in
                                                                                Support of Defendants' Opposition to Plaintiffs' Motion for Partial Summary Judgment
    356                                                                         BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Declaration of Joseph Sikes in Support
                                                                                of Defendants' Opposition to Plaintiffs' Motion for Partial Summary Judgment
    357                                                                         BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Declaration of Jason Zabek in Support of
                                                                                Defendants' Opposition to Plaintiffs' Motion for Partial Summary Judgment
    358                                                                         BMG Rights Management (US) LLC v. Cox Enterprises, Inc., et al., Declaration of Brent K. Beck in Support
                                                                                of Defendants' Opposition to Plaintiffs' Motion for Partial Summary Judgment
    359                                                                         Declaration of Brent K. Beck in Support of Cox's Opposition to Plaintiffs' Motion to Compel
    360                                                                         Cox's First Supplemental Responses to Plaintiffs' First Set of Requests for Production of Documents and
                                                                                Things to Defendants
    361                                                                         Cox's Objections and Responses to Plaintiffs' Second Set of Interrogatories to Defendants
    362                                                                         Declaration of Brent K. Beck in Support of Cox's Opposition to Plaintiffs' Feb. 1, 2019 Motion to Compel
    363                                                                         Declaration of Paul Jarchow in Support of Cox's Opposition to Plaintiffs' Feb. 1, 2019 Motion to Compel
    364                                                                         Declaration of Sanford Mencher in Support of Cox's Opposition to Plaintiffs' Feb. 1, 2019 Motion to Compel

    365                                                                         Cox's Second Supplemental Responses to Plaintiffs' First Set of Interrogatories (Nos. 1-12) to Defendants,
                                                                                with verification
    366                                                                         Plaintiffs' Amended Notice of 30(b)(6) Deposition to Defendant Cox Communications, Inc. and Coxcom,
                                                                                LLC
    367                                                                         Document and Testimony Subpoena to inCode Consulting, a division of Ericsson Inc.
    368                                                                         Plaintiffs' Second Amended Notice of 30(b)(6) Deposition to Defendant Cox Communications, Inc. and
                                                                                CoxCom, LLC
    369                                                                         Response and Objections of J. Sikes to Plaintiffs' Requests for Production
    370                                                                         Cox's Responses and Objections to Plaintiffs' First Set of Requests for Admissions to Defendants
    371       COX_SONY_00974809                COX_SONY_00974815                R. Vredenburg 2010 Mid Year Self Evaluation
    372       COX_SONY_00974802                COX_SONY_00974808                R. Vredenburg 2010 Mid Year Leader Evaluation
    373       COX_SONY_00974481                COX_SONY_00974485                J. Sikes 2010 Mid Year Review Self Evaluation
    374       COX_SONY_00974646                COX_SONY_00974651                J. Zabek 2010 Mid Year Self Evaluation
    375       COX_SONY_00974640                COX_SONY_00974645                J. Zabek 2010 Mid Year Leader Evaluation
    376       COX_SONY_00974475                COX_SONY_00974480                J. Sikes 2010 Mid Year Review Leader Evaluation
    377       COX_SONY_00974795                COX_SONY_00974801                R. Vredenburg 2010 Annual Review Self Evaluation



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  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
   378        COX_SONY_00974470                COX_SONY_00974474                J. Sikes 2010 Annual Review Self Evaluation
   379        COX_SONY_00974787                COX_SONY_00974794                R. Vredenburg 2010 Annual Review Leader Evaluation
   380        COX_SONY_00974632                COX_SONY_00974639                J. Zabek 2010 Annual Review Self Evaluation
   381        COX_SONY_00974623                COX_SONY_00974631                J. Zabek 2010 Annual Review Leader Evaluation
   382        COX_SONY_00974463                COX_SONY_00974469                J. Sikes 2010 Annual Review Leader Evaluation
   383        COX_SONY_00974830                COX_SONY_00974836                R. Vredenburg 2011 Mid Year Leader Evaluation
   384        COX_SONY_00974506                COX_SONY_00974510                J. Sikes 2011 Mid Year Self Evaluation
   385        COX_SONY_00974677                COX_SONY_00974682                J. Zabek 2011 Mid Year Self Evaluation
   386        COX_SONY_00974670                COX_SONY_00974676                J. Zabek 2011 Mid Year Leader Evaluation
   387        COX_SONY_00974501                COX_SONY_00974505                J. Sikes 2011 Mid Year Leader Evaluation
   388        COX_SONY_00974494                COX_SONY_00974500                J. Sikes 2011 Annual Review Self Evaluation
   389        COX_SONY_00974661                COX_SONY_00974669                J. Zabek 2011 Annual Review Self Evaluation
   390        COX_SONY_00974824                COX_SONY_00974829                R. Vredenburg 2011 Annual Review Self Evaluation
   391        COX_SONY_00974816                COX_SONY_00974823                R. Vredenburg 2011 Annual Review Leader Evaluation
   392        COX_SONY_00974486                COX_SONY_00974493                J. Sikes 2011 Annual Review Leader Evaluation
   393        COX_SONY_00974652                COX_SONY_00974660                J. Zabek 2011 Annual Review Leader Evaluation
   394        COX_SONY_00974844                COX_SONY_00974849                R. Vredenburg 2012 Mid Year Leader Evaluation
   395        COX_SONY_00974536                COX_SONY_00974540                J. Sikes 2012 Mid Year Self Evaluation
   396        COX_SONY_00974709                COX_SONY_00974714                J. Zabek 2012 Mid Year Self Evaluation
   397        COX_SONY_00974530                COX_SONY_00974535                J. Sikes 2012 Mid Year Leader Evaluation
   398        COX_SONY_00974702                COX_SONY_00974708                J. Zabek 2012 Mid Year Leader Evaluation
   399        COX_SONY_00974521                COX_SONY_00974529                J. Sikes 2012 Annual Review Self Evaluation
   400        COX_SONY_00974691                COX_SONY_00974701                J. Zabek 2012 Annual Review Self Evaluation
   401        COX_SONY_00974837                COX_SONY_00974843                R. Vredenburg 2012 Annual Review Leader Evaluation
   402        COX_SONY_00974511                COX_SONY_00974520                J. Sikes 2012 Annual Review Leader Evaluation
   403        COX_SONY_00974683                COX_SONY_00974690                J. Zabek 2012 Annual Review Leader Evaluation
   404        COX_SONY_00974857                COX_SONY_00974862                R. Vredenburg 2013 Mid Year Leader Evaluation
   405        COX_SONY_00974735                COX_SONY_00974740                J. Zabek 2013 Mid Year Self Evaluation
   406        COX_SONY_00974566                COX_SONY_00974571                J. Sikes 2013 Mid Year Self Evaluation
   407        COX_SONY_00974729                COX_SONY_00974734                J. Zabek 2013 Mid Year Leader Evaluation
   408        COX_SONY_00974560                COX_SONY_00974565                J. Sikes 2013 Mid Year Leader Evaluation
   409        COX_SONY_00974551                COX_SONY_00974559                J. Sikes 2013 Annual Review Self Evaluation
   410        COX_SONY_00974721                COX_SONY_00974728                J. Zabek 2013 Annual Review Self Evaluation
   411        COX_SONY_00974850                COX_SONY_00974856                R. Vredenburg 2013 Annual Review Leader Evaluation
   412        COX_SONY_00974715                COX_SONY_00974720                J. Zabek 2013 Annual Review Leader Evaluation



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
   413        COX_SONY_00974541                COX_SONY_00974550                J. Sikes 2013 Annual Review Leader Evaluation
   414        COX_SONY_00974747                COX_SONY_00974753                J. Zabek 2014 Annual Review Self Evaluation
   415        COX_SONY_00974580                COX_SONY_00974587                J. Sikes 2014 Annual Review Self Evaluation
   416        COX_SONY_00974863                COX_SONY_00974870                R. Vredenburg 2014 Annual Review Leader Evaluation
   417        COX_SONY_00974572                COX_SONY_00974579                J. Sikes 2014 Annual Review Leader Evaluation
   418        COX_SONY_00974741                COX_SONY_00974746                J. Zabek 2014 Annual Review Leader Evaluation
   419        COX_SONY_00974779                COX_SONY_00974786                J. Zabek 2015 Mid Year Self Evaluation
   420        COX_SONY_00974615                COX_SONY_00974622                J. Sikes 2015 Mid Year Self Evaluation
   421        COX_SONY_00974606                COX_SONY_00974614                J. Sikes 2015 Mid Year Leader Evaluation
   422        COX_SONY_00974772                COX_SONY_00974778                J. Zabek 2015 Mid Year Leader Evaluation
   423        COX_SONY_00974879                COX_SONY_00974879                R. Vredenburg 2015 Mid Year Leader Evaluation
   424        COX_SONY_00974596                COX_SONY_00974605                J. Sikes 2015 Annual Review Self Evaluation
   425        COX_SONY_00974762                COX_SONY_00974771                J. Zabek 2015 Annual Review Self Evaluation
   426        COX_SONY_00974871                COX_SONY_00974878                R. Vredenburg 2015 Annual Review Leader Evaluation
   427        COX_SONY_00974588                COX_SONY_00974595                J. Sikes 2015 Annual Review Leader Evaluation
   428        COX_SONY_00974754                COX_SONY_00974761                J. Zabek 2015 Annual Review Leader Evaluation
   429                                                                          Letter Separation Agreement from K. Keever to J. Zabek
   430        SIKES-000016                     SIKES-000018                     Letter Separation Agreement from K. Keever to J. Sikes
   431        SIKES-000019                     SIKES-000019                     State of Georgia Department of Labor Separation Notice for J. Sikes
   432        SIKES-000268                     SIKES-000269                     Letter from Cox Enterprises to J. Sikes regarding pension benefit
   433                                                                          Webpage printout from: https://soundcloud.com/joesikes/the-old-house-destiny
   434        SME_00006189                     SME_00006252                     The six business models for copyright infringement
   435        UMG_00011680                     UMG_00011721                     Enders Analysis - Recorded music 2012: edging to a new dawn
   436        WBR_00002312                     WBR_00002355                     Email from S. Bergen to R. Gold, M. Signore, L. Cohen, M. Jbara, M. Osherova, K. Gore, M. David, J.
                                                                                Greenwald, and M. Flott, FW: Ender Analysis 2012 RM, with attachment recorded_music_2012_-
                                                                                _edging_to_a_new_dawn_2012-073_0.pdf
    437       UMG_00011649                     UMG_00011679                     Enders Analysis - Music publishing 2012: Recovery ahead
    438       UMG_00011636                     UMG_00011648                     Enders Analysis - US recorded music gets some mojo
    439       SME_00008354                     SME_00008453                     NetNames/envisonal - Sizing the piracy universe
    440       SME_00008454                     SME_00008457                     NetNames/envisonal - Sizing the piracy universe Summary
    441       COX_SONY_00974336                COX_SONY_00974396                Cox Communications, Inc. Annual Financial Supplement 2012
    442       COX_SONY_00974272                COX_SONY_00974335                Cox Communications, Inc. Annual Financial Supplement 2013
    443       COX_SONY_00974397                COX_SONY_00974458                Cox Communications, Inc. Annual Financial Supplement 2014
    444       COX_SONY_00002808                COX_SONY_00002809                Speeds and Data Plans Information for High Speed Internet Service in Roanoke
    445       Plaintiffs_00288467              Plaintiffs_00288467              Top MSOs add neearly 500,000 triple-play subs in Q4; HSD standalones reeach all-time high



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                                                                                PLAINTIFFS’ CORRECTED EXHIBIT LIST



  PX NO.      BATES BEGIN                      BATES END                        DESCRIPTION
   446        COX_BMG00139518                  COX_BMG00139519                  Cox High Speed Internet Maximize Your Entertainment
   447        COX_SONY_00002010                COX_SONY_00002011                Internet Speeds and Data Plans Information
   448        Plaintiffs_00286528              Plaintiffs_00286528              WACC Rates for Cabblevision, Charter, Comcast, and Time Warner Cable in 2014
   449        BMG Trial, PX 5002                                                Cox High Speed Internet Speed 101
   450        COX_SONY_00515533                COX_SONY_00515533                Subscriber Churn.xlsx
   451                                                                          Cox Communications Fact Sheet (Plaintiffs' Deposition Ex. 2)
   452                                                                          Email from D. Hutto to P. Jarchow, subject: Sony v. CCI reports needed (Plaintiffs' Deposition Ex. 14)
   453                                                                          Envisonal - Technical report: An estimate of Infringing Use of the Internet
   454        Plaintiffs_00288265              Plaintiffs_00288275              IFPI - Music Consumer Insight Report
   455        COX_SONY_00001946                COX_SONY_00002009                Consumption Based Billing Readiness
   456        COX_SONY_00002012                COX_SONY_00002012                Average Subscriber Tenure
   457        COX_SONY_00002839                COX_SONY_00002839                Average Subscriber Tenure
   458        COX_SONY_00511413                COX_SONY_00511415                Abuse Talk
   459        COX_SONY_00515532                COX_SONY_00515532                Res Product P&L
   460        COX_SONY_00515534                COX_SONY_00515534                Residential Non-Pay Disconnect volumes by month
   461        COX_SONY_00515535                COX_SONY_00515535                Customer Churn Cox Business Internet & Cox Optical Internet 2013-2014.xlsx
   462        COX_SONY_00515536                COX_SONY_00515536                Subscriber Acquisition Costs
   463        COX_SONY_00515537                COX_SONY_00515537                2013-2014 data rack rates.xlsx
   464        COX_SONY_00515538                COX_SONY_00515538                Product Combination Trend Report 2012-2014
   465        COX_SONY_00527563                COX_SONY_00527563                Cox High-Speed Service Residential Subscriber Tracking Survey 2012
   466        COX_SONY_00527728                COX_SONY_00527728                Cox High-Speed Service Residential Subscriber Tracking Survey 2010
   467        COX_SONY_00973760                COX_SONY_00973760                ICOMS Billing Reports
   468        COX_SONY_00973761                COX_SONY_00973761                ICOMS Billing Reports
   469        COX_SONY_00973762                COX_SONY_00973762                ICOMS Billing Reports
   470        COX_SONY_00973763                COX_SONY_00973763                ICOMS Billing Reports
   471        COX_SONY_00973764                COX_SONY_00973764                ICOMS Billing Reports
   472        COX_SONY_00973765                COX_SONY_00973765                ICOMS Billing Reports
   473        COX_SONY_00973766                COX_SONY_00973766                ICOMS Billing Reports
   474        COX_SONY_00973767                COX_SONY_00973767                ICOMS Billing Reports
   475        COX_SONY_00974168                COX_SONY_00974176                Cox Audited Financials excerpts
   476        COX_SONY_00974238                COX_SONY_00974238                ICOMS CB DISCLOSURES.xlsx
   477        COX_SONY_00974241                COX_SONY_00974241                ICOMS CB DISCLOSURES SUPP.xlsx
   478                                                                          Cox Business Fact Sheet (Plaintiffs' Deposition Ex. 13)
   479                                                                          Key to ICOMS Billing Reports (Plaintiffs' Deposition Ex. 25)




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  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   480                                                                          Cox Billing and Payments ($) for Subscribers with Infringement Notices 2012 - 2016 (Plaintiffs' Deposition
                                                                                Ex. 27)
    481                                                                         Cox Billing and Payments for Data Subscribers with Infringement Notices 2012 - 2016 (Plaintiffs' Deposition
                                                                                Ex. 28)
    482                                                                         Four Extracts from COX_SONY_00973764 (Plaintiffs' Deposition Ex. 29)
    483                                                                         Four Extracts from COX_SONY_00973764-67 (Plaintiffs' Deposition Ex. 30)
    484       Plaintiffs_00286534              Plaintiffs_00286777              Sandvine - Global Internet Phenomena Reports
    485       Plaintiffs_00288921              Plaintiffs_00288921              U.S. Sound Recording Industry Reevenue by Source, Inflation-Adjusted, 2017 Dollars
    486                                                                         U.S. Recorded Music Revenues by Format, 2000 to 2014
    487       BMG Trial, PX 5001                                                COX High Speed Internet Offers screenshot
    488       BMG Trial, PX 1406                                                Cox Internet Speed Test screenshot
    489       BMG Trial, PX 1407                                                Cox High Speed Internet screenshot
    490                                                                         Cox High Speed Internet screenshot
    491       Bakewell_00000001                Bakewell_00000002                Duff & Phelps Invoice No. HO00350794
    492       AUDIBLE-MAGIC-                   AUDIBLE-MAGIC-                   Audible Magic Client API SDK Programmer's Overview
              0007333                          0007338
    493       AUDIBLE-MAGIC-                   AUDIBLE-MAGIC-                   Audible Magic OEM Application Programming Guide and Customer Support Information
              0000003                          0000130
    494                                                                         Barbara A. Frederiksen-Cross Curriculum Vitae
    495       Plaintiffs_00287606              Plaintiffs_00287735              OECD - Digital Broadband Content: Music
    496       Plaintiffs_00288689              Plaintiffs_00288697              Music file sharing and sales displacement in the iTunes era
    497       Plaintiffs_00287777              Plaintiffs_00287777              UBS Investment Research - Broadband Reaching a Tipping Point
    498                                                                         Macquarie (USA) Equities Research, US Telecom Services
    499       Plaintiffs_00287917              Plaintiffs_00287919              Duff & Phelps 2014 Valuation Handbook - Industry Cost of Capital
    500       Plaintiffs_00288382              Plaintiffs_00288411              Piracy and Music Sales: The Effects of an Anti-Piracy Law
    501       Plaintiffs_00288464              Plaintiffs_00288466              Factors impacting cable churn in 2014 and beyond
    502       Plaintiffs_00288469              Plaintiffs_00288469              HSD eclipses vide in revenue gains in 2014, but video ARPU still undisputed leader
    503       Plaintiffs_00288473              Plaintiffs_00288484              Music piracy: Bad for record sales but good for the iPod?
    504       Plaintiffs_00288433              Plaintiffs_00288442              Copyright Enforcement in the Digital Age: Empirical Economic Evidence and Conclusions
    505       Plaintiffs_00288684              Plaintiffs_00288688              Piracy and the Supply of New Creative Works
    506       Plaintiffs_00288612              Plaintiffs_00288617              The effect of file sharing on record sales, revisited
    507       Plaintiffs_00288443              Plaintiffs_00288450              Copyright Enforcement in the Digital Age: Empirical Economic Evidence and Conclusions
    508       Plaintiffs_00288485              Plaintiffs_00288513              File Sharing: Creative Destruction or Just Plain Destruction?
    509       Plaintiffs_00288698              Plaintiffs_00288726              Measuring the Effect of File Sharing on Music Purchases




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  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   510   Plaintiffs_00287736                   Plaintiffs_00287776              US Government Accountability Office - Intellectual Property: Observations on Efforts to Quantify the
                                                                                Economic Effects of Counterfeit and Pirated Goods
    511                                                                         Investigation into the extent of infringing content on BitTorrent networks
    512       Plaintiffs_00287794              Plaintiffs_00287915              Department of Commerce Internet Policy Task Force - Copyright Policy, Creativity, and Innovation in the
                                                                                Digital Economy
    513       Plaintiffs_00287556              Plaintiffs_00287605              Congressional Budget Office - Copyright Issues in Digital Media
    514       Plaintiffs_00288652              Plaintiffs_00288683              The Trust Cost of Sound Recording Piracy to the U.S. Economy
    515       Plaintiffs_00287790              Plaintiffs_00287793              US Congress Joint Eeconomic Committee Chaiman's Staff - The Impact of Intellectual Property Theft on the
                                                                                Economy
    516       Plaintiffs_00288451              Plaintiffs_00288463              The Effect of Graduated Response Anti-Piracy Laws on Music Sales: Evidence from and Event Study in
                                                                                France
    517       Plaintiffs_00286527              Plaintiffs_00286527              Cable Operating Metrics, SNL Kagan
    518       Plaintiffs_00286778              Plaintiffs_00287555              Akamai - State of the Internet Reports
    519       Plaintiffs_00288412              Plaintiffs_00288428              Digital music consumption on the Internet: Evidence from clickstream data
    520       Plaintiffs_00288514              Plaintiffs_00288532              The Impacts of Internet Piracy
    521       Plaintiffs_00288533              Plaintiffs_00288573              Quantifying Global Transfers of Copyrighted Content Using BitTorrent
    522       Plaintiffs_00288575              Plaintiffs_00288586              Customer Centricity in the Telecommunications Industry
    523       Plaintiffs_00288587              Plaintiffs_00288610              The Impact of Digital File Sharing on the Music Industry: An Empirical Analysis
    524       Plaintiffs_00288618              Plaintiffs_00288651              Piracy on the High C's: Music Downloading, Sales Displacement, and Social Welfare in a Sample of College
                                                                                Students
    525                                                                         William H. Lehr Curriculum Vitae
    526                                                                         George P. McCabe Curriculum Vitae
    527       McGarty_000347                   McGarty_000348                   More than 50% of Cox Customers Bundle Two or More Video, Internet and Phone Services
    528       McGarty_000349                   McGarty_000387                   Policy Implications of Technology for Detecting P2P and Copyright Violations
    529       McGarty_00000546                 McGarty_00000573                 Criteria for Distinguishing Effectiveeness From Efficacy Trials in Systematic Reviews
    530       McGarty_00000517                 McGarty_00000517                 Hulley, et al. - Designing Clinical Research
    531       McGarty_00000542                 McGarty_00000545                 Singal - A Primer on Effectiveness and Efficacy Trials
    532       McGarty_000484                   McGarty_000484                   Cox High Speed Internet Fact Sheet
    533                                                                         Terrence P. McGarty Curriculum Vitae
    534       Plaintiffs_00106459              Plaintiffs_00106459              Email from antipiracy2@riaa.com to abuse@cox.net
    535       Plaintiffs_00137823              Plaintiffs_00137823              Email from antipiracy2@riaa.com to abuse@cox.net
    536       Plaintiffs_00155715              Plaintiffs_00155715              Email from antipiracy2@riaa.com to abuse@cox.net
    537       Plaintiffs_00100546              Plaintiffs_00100546              Email from antipiracy2@riaa.com to abuse@cox.net
    538       Plaintiffs_00100723              Plaintiffs_00100723              Email from antipiracy2@riaa.com to abuse@cox.net
    539       Plaintiffs_00157876              Plaintiffs_00157876              Email from antipiracy2@riaa.com to abuse@cox.net



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  PX NO. BATES BEGIN                           BATES END                        DESCRIPTION
   540   Plaintiffs_00103541                   Plaintiffs_00103541              Email from antipiracy2@riaa.com to abuse@cox.net
   541   COX_SONY_00974177                     COX_SONY_00974192                Cox Business P&L




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